Fill in this information to identify the case:

Debtor name        IYS Ventures, LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)      23-06782
                                                                                                                      Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                  Last 4 digits of account
                                                                                                 number


           3.1.   BMO Harris Bank                                Checking                        7629                                   $2,340.05




           3.2.   One Community Bank                             Checking                        4451                                           $0.00




           3.3.   Farmers & Merchants State Bank                 Checking                        5799                                   $3,630.00




           3.4.   Incredible Bank                                Checking                        1059                                  $14,037.13




           3.5.   Bank First                                      Checking                       3572                                   $1,835.37




           3.6.   First National Bank of Minnesota               Checking                        8078                                   $3,400.00



4.         Other cash equivalents (Identify all)


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                            page 1
Debtor         IYS Ventures, LLC                                                           Case number (If known) 23-06782
               Name


5.         Total of Part 1.                                                                                                        $25,242.55
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

Part 4:        Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last           Net book value of          Valuation method used    Current value of
                                              physical inventory         debtor's interest          for current value        debtor's interest
                                                                         (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale

22.        Other inventory or supplies
           Inventory                                                                 Unknown                                             Unknown



23.        Total of Part 5.                                                                                                               $0.00
           Add lines 19 through 22. Copy the total to line 84.

24.        Is any of the property listed in Part 5 perishable?
            No
            Yes
25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                              Valuation method                                  Current Value

26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 2
Debtor       IYS Ventures, LLC                                                              Case number (If known) 23-06782
             Name



    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          3 Desks, 2 Couches, Table, 6 Chairs, Coffee
          Maker                                                                       Unknown       Liquidation                            $460.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          5 Computers, 3 Printers                                                    Unknown        Liquidation                          $1,200.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                               $1,660.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2023 BMW M8                                                         Unknown                                           $85,000.00


          47.2.   2020 Volkswagen Atlas (leased)                                      Unknown                                           $14,000.00


          47.3.   2021 Mercedes Sprinter Van M2CA46                                  Unknown                                            $21,090.00

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
Debtor       IYS Ventures, LLC                                                         Case number (If known) 23-06782
             Name



          47.4.   2023 Mercedes Sprinter Van M2CAES                              Unknown                                            $45,178.00


          47.5.   2021 Mercedes Sprinter M2CA76                                  Unknown                                            $12,240.00


          47.6.   2023 BMW X7                                                    Unknown                                            $64,446.00


          47.7.   2022 Nissan Ultima                                             Unknown                                            $23,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)

51.       Total of Part 8.                                                                                                     $264,954.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes
Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used     Current value of
          property                              extent of            debtor's interest         for current value         debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1.
                  1001 Irving Park Road,
                  Elgin, Illinois 60120         Fee Simple                       Unknown       Recent cost                         $265,000.00


          55.2.   3748 North High
                  School Road,
                  Indianapolis, Indiana
                  46224                         Fee simple                       Unknown       Recent cost                         $575,000.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                          page 4
Debtor      IYS Ventures, LLC                                                           Case number (If known) 23-06782
            Name

         55.3.   8598 Michigan Road,
                 Indianapolis, Indiana
                 46268                         Fee Simple                         Unknown           Recent cost              $675,000.00


         55.4.   10843 Montgomery
                 Road, Cincinnati, OH
                 45242                         Fee simple                         Unknown           Recent cost              $275,000.00


         55.5.   830 East Cherry
                 Street, Vermillion,
                 South Dakota 57069            Fee simple                         Unknown           Recent cost              $100,000.00


         55.6.   304 East College
                 Drive, Marshall,
                 Minnesota 56258               Fee Simple                         Unknown           Recent cost              $125,000.00


         55.7.   1903 Dakota Avenue,
                 Huron, South Dakota
                 57350                         Fee Simple                         Unknown           Recent cost              $100,000.00


         55.8.   615 Ninth Avenue SE,
                 Watertown, South
                 Dakota 57201                  Fee Simple                         Unknown           Recent cost              $100,000.00


         55.9.   314 East Badger
                 Street, Waupaca,
                 Wisconsin                     Fee Simple                         Unknown           Recent cost              $255,000.00


         55.10
         .
               727 Main Street, Red
                 Wing, Minnesota               Fee Simple                         Unknown           Recent cost              $150,000.00


         55.11 23 sites in Illinois,
         .     Louisiana, Minnesota,
                 Ohio, South Dakota &          Leasehold
                 Virginia                      Interest                           Unknown                                       Unknown


         55.12
         .
               17 sites in Minnesota &         Leasehold
                 Wisconsin                     Interest                           Unknown                                          $0.00




56.      Total of Part 9.                                                                                                 $2,620,000.00
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
         Copy the total to line 88.

57.      Is a depreciation schedule available for any of the property listed in Part 9?
          No
          Yes
58.      Has any of the property listed in Part 9 been appraised by a professional within the last year?
          No
          Yes

Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                 page 5
Debtor       IYS Ventures, LLC                                                             Case number (If known) 23-06782
             Name

Part 10:     Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.

Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                         page 6
Debtor          IYS Ventures, LLC                                                                                   Case number (If known) 23-06782
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $25,242.55

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,660.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $264,954.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $2,620,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $291,856.55           + 91b.            $2,620,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,911,856.55




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 7
Fill in this information to identify the case:

Debtor name         IYS Ventures, LLC

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number (if known)             23-06782
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1   BMW Financial Services                       Describe debtor's property that is subject to a lien                  $158,504.07                 $85,000.00
      Creditor's Name                              2023 BMW M8
      Customer Service Center
      PO Box 3608
      Dublin, OH 43016-0306
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                       No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                           No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                           Contingent
          Yes. Specify each creditor,                  Unliquidated
      including this creditor and its relative         Disputed
      priority.



2.2   BMW Financial Services                       Describe debtor's property that is subject to a lien                  $105,513.57                 $64,446.00
      Creditor's Name                              2023 BMW X7
      Customer Service Center
      PO Box 3608
      Dublin, OH 43016-0306
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                       No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                           No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 6
Debtor      IYS Ventures, LLC                                                                     Case number (if known)      23-06782
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Byzfunder NY LLC                            Describe debtor's property that is subject to a lien                     $153,986.32   Unknown
      Creditor's Name                             Cash, Accounts & Other Collateral
      530 7th Avenue
      Suite 505
      New York, NY 10018
      Creditor's mailing address                  Describe the lien
                                                  Consensual
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/25/2022                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Fox Capital Group, Inc.                     Describe debtor's property that is subject to a lien                     $444,005.00   Unknown
      Creditor's Name                             Cash, Accounts & Other Collateral
      1407 Broadway
      40th Floor
      New York, NY 10018
      Creditor's mailing address                  Describe the lien
                                                  Consensual
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      11/23/22                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Itria Ventures                              Describe debtor's property that is subject to a lien                 $1,492,108.98     Unknown
      Creditor's Name                             Cash, Accounts & Other Collateral
      1 Penn Plaza
      Suite 3101
      New York, NY 10119
      Creditor's mailing address                  Describe the lien
                                                  Consensual
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                         page 2 of 6
Debtor       IYS Ventures, LLC                                                                    Case number (if known)      23-06782
             Name

      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   M&M Service                                 Describe debtor's property that is subject to a lien                     $123,994.40    $255,000.00
      Creditor's Name                             314 East Badger Street, Waupaca, Wisconsin
      315 East 15th Street
      Covington, KY 41011
      Creditor's mailing address                  Describe the lien
                                                  Labor and Mechanic's Lien
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2002                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Marks Supermarket NC Inc.                   Describe debtor's property that is subject to a lien                 $5,200,000.00     $2,620,000.00
      Creditor's Name                             Real Properties in Schedule B (No.
                                                  55)
      317 U.S. Highway 64 West
      Creswell, NC 27928
      Creditor's mailing address                  Describe the lien
                                                  Mortgage
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      9/21                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Mercedes Benz Financial
2.8                                                                                                                         $43,016.28     $21,090.00
      Services                                    Describe debtor's property that is subject to a lien
      Creditor's Name                             2021 Mercedes Sprinter Van M2CA46
      PO Box 5209
      Carol Stream, IL 60197-5209
      Creditor's mailing address                  Describe the lien
                                                  Retail Installment Contract - Motor Vehicle
                                                  Is the creditor an insider or related party?
                                                     No

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 3 of 6
Debtor      IYS Ventures, LLC                                                                     Case number (if known)     23-06782
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/3/22                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Mercedes Benz Financial
2.9                                                                                                                        $71,339.58   $45,178.00
      Services                                    Describe debtor's property that is subject to a lien
      Creditor's Name                             2023 Mercedes Sprinter Van M2CAES
      PO Box 5209
      Carol Stream, IL 60197-5209
      Creditor's mailing address                  Describe the lien
                                                  Retail Installment Contract - Motor Vehicle
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/18/23                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4002
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Mercedes Benz Financial
0     Services                                    Describe debtor's property that is subject to a lien                     $21,064.51   $12,240.00
      Creditor's Name                             2021 Mercedes Sprinter M2CA76
      PO Box 5209
      Carol Stream, IL 60197-5209
      Creditor's mailing address                  Describe the lien
                                                  Retail Installment Contract - Motor Vehicle
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6/9/21                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Nissan Motor Acceptance
1     Corporation                                 Describe debtor's property that is subject to a lien                      Unknown     $23,000.00



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 4 of 6
Debtor      IYS Ventures, LLC                                                                     Case number (if known)      23-06782
            Name

      Creditor's Name                             2022 Nissan Ultima
      Bankruptcy Department
      PO Box 660577
      Dallas, TX 75266-0577
      Creditor's mailing address                  Describe the lien
                                                  Retail Installment Contract - Motor Vehicle
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
2     Samson Funding                              Describe debtor's property that is subject to a lien                 $4,091,514.00     Unknown
      Creditor's Name                             Cash, Accounts & Other Collateral
      17 State Street
      Suite 630
      New York, NY 10004
      Creditor's mailing address                  Describe the lien
                                                  Consensual
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   The Huntington National
3     Bank                                        Describe debtor's property that is subject to a lien                     $202,038.49   Unknown
      Creditor's Name                             Equipment (Gasoline Pumps)
      17 South High Street
      Columbus, OH 43215
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security Interest
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/2/21                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      xx62
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                         page 5 of 6
Debtor       IYS Ventures, LLC                                                                     Case number (if known)       23-06782
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.1    The Huntington National
4      Bank                                        Describe debtor's property that is subject to a lien                     $148,275.52               Unknown
       Creditor's Name                             Equipment (Gasoline Pumps)
       17 South High Street
       Columbus, OH 43215
       Creditor's mailing address                  Describe the lien
                                                   Purchase Money Security Interest
                                                   Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       8/30/21                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       xx04
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $11,695,013.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      74

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 6 of 6
Fill in this information to identify the case:

Debtor name        IYS Ventures, LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)          23-06782
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $78,082.05         Unknown
          Wisconsin Department of Revenue                      Check all that apply.
          2135 Rimrock Road                                     Contingent
          Madison, WI 53713                                     Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
          2022                                                 Sales and Use Tax
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $6,438.83
          American Bottling Company                                           Contingent
          400 North Wolf Road                                                 Unliquidated
          Suite A                                                             Disputed
          Northlake, IL 60164-1659
                                                                             Basis for the claim: Trade Credit
          Date(s) debt was incurred 2023
          Last 4 digits of account number                                    Is the claim subject to offset?      No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $22,920.38
          Aramark Uniform Services                                            Contingent
          2334 South Michigan Avenue                                          Unliquidated
          Chicago, IL 60616                                                   Disputed
          Date(s) debt was incurred 2023
                                                                             Basis for the claim: Trade Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No  Yes



Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 7
                                                                                                               20289
Debtor      IYS Ventures, LLC                                                               Case number (if known)            23-06782
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,200.00
         Bauer Services of Welch, LLC                               Contingent
         26469 130th Avenue                                         Unliquidated
         Welch, MN 55089                                            Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,434.30
         Benedict Sales & Service                                   Contingent
         1003 Harlem Street                                         Unliquidated
         Red Wing, MN 55066                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $6,168.00
         Certified Refrigeration & Mechanical LLC                   Contingent
         PO Box 8779                                                Unliquidated
         Madison, WI 53708                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $65,383.48
         Coca-Cola Bottling Company                                 Contingent
         PO Box 105637                                              Unliquidated
         Atlanta, GA 30348                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,778.93
         Cook Sign Services                                         Contingent
         105 Garfield Avenue                                        Unliquidated
         Marquette, MI 49855                                        Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,542.82
         Dakota Electric Services, Inc.                             Contingent
         2801 East 21st Street                                      Unliquidated
         Marshfield, WI 54449                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $6,935,588.31
         EBY Brown Company LLC                                      Contingent
         1415 West Diehl Road
         Naperville, IL 60563
                                                                    Unliquidated
         Date(s) debt was incurred
                                                                    Disputed
         Last 4 digits of account number                           Basis for the claim: Trade Credit

                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 7
Debtor      IYS Ventures, LLC                                                               Case number (if known)            23-06782
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,068.83
         Ferguson Electric Inc.                                     Contingent
         326 Illinois Avenue SW                                     Unliquidated
         Huron, SD 57350                                            Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $638.00
         Food and Drug Administration                               Contingent
         10903 New Hampshire Avenue                                 Unliquidated
         Silver Spring, MD 20993                                    Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $104,661.20
         Frito-Lay, Inc.                                            Contingent
         7700 Bulldog Drive                                         Unliquidated
         Summit Argo, IL 60501                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,709.48
         GFL Environmental Inc.                                     Contingent
         10690 W Six Mile Road                                      Unliquidated
         Detroit, MI 48235                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $13,950.00
         Home State Security                                        Contingent
         250 East 5th Street                                        Unliquidated
         15 Floor                                                   Disputed
         Cincinnati, OH 45202
                                                                   Basis for the claim: Trade Credit
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $24,155.51
         Manistique Oil Company                                     Contingent
         216 Deer Street                                            Unliquidated
         Manistique, MI 49854                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $213.64
         Minn's Air Service                                         Contingent
         102 North Main Street                                      Unliquidated
         Reeseville, WI 53579                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 7
Debtor      IYS Ventures, LLC                                                               Case number (if known)            23-06782
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $10,884.84
         Minnesota Power                                            Contingent
         30 West Superior Street                                    Unliquidated
         Duluth, MN 55802                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,213.75
         Monona Plumbing and Fire Protection, Inc                   Contingent
         3126 Watfird Way                                           Unliquidated
         Madison, WI 53713                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,241.10
         OSI Environmental Inc.                                     Contingent
         300 Fayal Road                                             Unliquidated
         Eveleth, MN 55734                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $500.61
         Pentair Commercial Servics LLC                             Contingent
         PO Box 7410471                                             Unliquidated
         Chicago, IL 60674-0471                                     Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $200,085.54
         Pepsi Beverages Co.                                        Contingent
         2541 West 20th Avenue                                      Unliquidated
         Oshkosh, WI 54904                                          Disputed
         Date(s) debt was incurred 2023 & prior year
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,552.25
         Pestop Hay Creek Lawn & Power                              Contingent
         2040 Neal Street                                           Unliquidated
         Red Wing, MN 55066                                         Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $325.00
         Premium Quality LIghting                                   Contingent
         2285 Ward Avenue                                           Unliquidated
         Simi Valley, CA 93065                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 4 of 7
Debtor      IYS Ventures, LLC                                                               Case number (if known)            23-06782
            Name

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,423.00
         Priority Heating & Cooling, Inc.                           Contingent
         635 Hayward Avenue North                                   Unliquidated
         Oakdale, MN 55128                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $40,203.87
         Red Bull Distrtibution Company                             Contingent
         PO Box 204750                                              Unliquidated
         Dallas, TX 75320                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,462,316.00
         Munadel Rizek                                              Contingent
         7924 Keystone Road                                         Unliquidated
         Orland Park, IL 60462                                      Disputed
         Date(s) debt was incurred 2023 & prior years
                                                                   Basis for the claim: Loans
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,408.22
         Rumke                                                      Contingent
         10795 Hughes Road                                          Unliquidated
         Cincinnati, OH 45251                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $75.00
         S&F Excavating & Construction                              Contingent
         887 Highway 46                                             Unliquidated
         Amery, WI 54001                                            Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $638.00
         South Dakota Department of Revenue                         Contingent
         445 East Capital Avenue                                    Unliquidated
         Pierre, SD 57501                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Assessment
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $1,360.00
         Southern Ohio Door Controls                                Contingent
         PO Box 331                                                 Unliquidated
         Miamitown, OH 45041                                        Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 7
Debtor      IYS Ventures, LLC                                                               Case number (if known)            23-06782
            Name

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $10,929.10
         Sysco Corporation                                          Contingent
         1390 Enclave Parkway                                       Unliquidated
         Houston, TX 77077                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim: Trade Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $487,944.00
         The Huntington National Bank                               Contingent
         17 South High Street                                       Unliquidated
         Columbus, OH 43215                                         Disputed
         Date(s) debt was incurred 2023 & prior year
                                                                   Basis for the claim: Deposit Account Agreement and Treasury Management
         Last 4 digits of account number 8201                      Services Agreement Defaults
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $669,658.22
         The Huntington National Bank                               Contingent
         17 South High Street                                       Unliquidated
         Columbus, OH 43215                                         Disputed
         Date(s) debt was incurred 2023 & prior year
                                                                   Basis for the claim: Deposit Account Agreement and Treasury Management
         Last 4 digits of account number 2027                      Services Agreement Defaults
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $694,283.58
         The Huntington National Bank                               Contingent
         17 South High Street                                       Unliquidated
         Columbus, OH 43215                                         Disputed
         Date(s) debt was incurred 2023 & prior year
                                                                   Basis for the claim: Deposit Account Agreement and Treasury Management
         Last 4 digits of account number 2014                      Services Agreement Defaults
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $164,950.66
         U.S. Small Business Administration                         Contingent
         409 3rd Street SW                                          Unliquidated
         Washington, DC 20416                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $165,381.82
         U.S. Small Business Administration                         Contingent
         409 3rd Street SW                                          Unliquidated
         Washington, DC 20416                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $5,508.16
         Volkswagen Credit                                          Contingent
         P.O. Box 5215                                              Unliquidated
         Carol Stream, IL 60197                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: 2020 Volkswagen Atlas (leased)
         Last 4 digits of account number 3021
                                                                   Is the claim subject to offset?    No  Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 6 of 7
Debtor       IYS Ventures, LLC                                                                      Case number (if known)            23-06782
             Name

3.38      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $19,625.78
          We Energies                                                       Contingent
          PO Box 2046                                                       Unliquidated
          Milwaukee, WI 53201-2046                                          Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Trade Credit
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.39      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $33,362.98
          Xcel Energy                                                       Contingent
          PO Box 9477                                                       Unliquidated
          Minneapolis, MN 55484-9477                                        Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Trade Credit
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                       78,082.05
5b. Total claims from Part 2                                                                           5b.    +   $                   11,174,723.19

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                      11,252,805.24




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 7
Fill in this information to identify the case:

Debtor name        IYS Ventures, LLC

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)      23-06782
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Management and
             lease is for and the nature of       Operations Agreement
             the debtor's interest                for Louisiana (1) site

                State the term remaining          5 year term commencing
                                                  12/2022                           7 Mart, Inc.
             List the contract number of any                                        13301 Plank Road
                   government contract                                              Baton Rouge, LA 70815


2.2.         State what the contract or           Management and
             lease is for and the nature of       Operations Agreement
             the debtor's interest                for leased Wisconsin (7)
                                                  sites
                State the term remaining          Balance of original 5 year
                                                  term                              Ameer Investment, Inc.
             List the contract number of any                                        8950 103rd Street
                   government contract                                              Palos Hills, IL 60465


2.3.         State what the contract or           Management and
             lease is for and the nature of       Operations Agreement
             the debtor's interest                for owned Indiana (2)
                                                  and Wisconsin (1) sites
                State the term remaining          3 years commencing
                                                  11/1/2022                         Ameer Investment, Inc.
             List the contract number of any                                        8950 103rd Street
                   government contract                                              Palos Hills, IL 60465


2.4.         State what the contract or           Management Agreement
             lease is for and the nature of       for leased Louisiana (2),
             the debtor's interest                Mississippi (2) and
                                                  Virginia (1) sites
                State the term remaining          Balance of original 5 year
                                                  term                              Areej Investment, Inc.
             List the contract number of any                                        8950 103d Street
                   government contract                                              Palos Hills, IL 60465




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 4
Debtor 1 IYS Ventures, LLC                                                         Case number (if known)   23-06782
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.5.      State what the contract or        Unitary Lease Agreement
          lease is for and the nature of    and Related Agreements
          the debtor's interest             for 17 sites in Minnesota
                                            & Wisconsin
             State the term remaining       10 year term                   Erickson Oil Products, Inc.
                                            commencing 2/9/2021            CAP Operations, Inc.
                                            with 2 5 year options          600 Hamilton
          List the contract number of any                                  Suite 500
                government contract                                        Allentown, PA 18101


2.6.      State what the contract or        Management and
          lease is for and the nature of    Operations Agreement
          the debtor's interest             for leased Louisiana (1)
                                            site
             State the term remaining       5 year term commencing
                                            12/2022                        F&M Stop Market LLC
          List the contract number of any                                  12392 Plank Road
                government contract                                        Baton Rouge, LA 70811


2.7.      State what the contract or        Management and
          lease is for and the nature of    Operations Agreement
          the debtor's interest             for leased Minnesota (13)
                                            and South Dakota (2)
                                            sites
             State the term remaining       Balance of original 5 year
                                            term                           Kareem, Inc.
          List the contract number of any                                  8950 103rd Street
                government contract                                        Palos Hills, IL 60465


2.8.      State what the contract or        Management and
          lease is for and the nature of    Operations Agreement
          the debtor's interest             for owned Minnesota (2)
                                            and South Dakota (2)
                                            sites
             State the term remaining       3 years commencing
                                            11/1/2022                      Kareem, Inc.
          List the contract number of any                                  8950 103rd Street
                government contract                                        Palos Hills, IL 60465


2.9.      State what the contract or        Management and
          lease is for and the nature of    Operations Agreement
          the debtor's interest             for leased Michigan (2)
                                            sites
             State the term remaining       Balance of original 5 year
                                            term                           Kenan Ventures, LLC
          List the contract number of any                                  8950 103d Street
                government contract                                        Palos Hills, IL 60465




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 4
Debtor 1 IYS Ventures, LLC                                                            Case number (if known)   23-06782
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                                State the name and mailing address for all other parties with
                                                                          whom the debtor has an executory contract or unexpired
                                                                          lease

2.10.     State what the contract or        Management and
          lease is for and the nature of    Operations Agreement
          the debtor's interest             for leased Ohio (7) sites

             State the term remaining       Balance of original 5 year
                                            term                              Leanne Investment, LLC
          List the contract number of any                                     8950 103rd Street
                government contract                                           Palos Hills, IL 60465


2.11.     State what the contract or        Management and
          lease is for and the nature of    Operations Agreement
          the debtor's interest             for owned Ohio (1) site

             State the term remaining       3 years commencing
                                            11/1/2022                         Leanne Investment, LLC
          List the contract number of any                                     8950 103rd Street
                government contract                                           Palos Hills, IL 60465


2.12.     State what the contract or        Management and
          lease is for and the nature of    Operations Agreement
          the debtor's interest             for owned Illinois (1) site

             State the term remaining       3 year term commencing
                                            11/1/2022                         Leanne Ventures, LLC
          List the contract number of any                                     8950 103rd Street
                government contract                                           Palos Hills, IL 60465


2.13.     State what the contract or        Unitary Lease Agreement
          lease is for and the nature of    and Related Agreements
          the debtor's interest             for 23 sites in Illinois,
                                            Louisiana, Minnesota,
                                            Ohio, South Dakota &
                                            Virginia
             State the term remaining       10 year term                      LGP Realty Holdings LP
                                            commencing 3/10/2021              Lehigh Gas Wholesale Services, Inc.
                                            with 2 5 year options             Erickson Oil Products, Inc.
          List the contract number of any                                     600 Hamilton Street, Suite 500
                government contract                                           Allentown, PA 18101


2.14.     State what the contract or        Management and
          lease is for and the nature of    Operations Agreement
          the debtor's interest             for Louisiana (1) site

             State the term remaining       5 year term commencing
                                            12/2022                           M&A 200, Inc.
          List the contract number of any                                     12567 Florida Boulevard
                government contract                                           Baton Rouge, LA 70815




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                      Page 3 of 4
Debtor 1 IYS Ventures, LLC                                                       Case number (if known)   23-06782
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.15.     State what the contract or        Motor Vehicle Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Volkswagen Credit
          List the contract number of any                               P.O. Box 5215
                government contract                                     Carol Stream, IL 60197




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 4 of 4
Fill in this information to identify the case:

Debtor name      IYS Ventures, LLC

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS

Case number (if known)   23-06782
                                                                                                                           Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Isam Samara                 7924 Keystone Road                                       EBY Brown Company               D
                                      Orland Park, IL 60462-5166                               LLC                              E/F        3.9
                                                                                                                               G



   2.2    Muwafak Rizek               7924 Keystone Road                                       Fox Capital Group, Inc.         D       2.4
                                      Orland Park, IL 60462-5166                                                                E/F
                                                                                                                               G



   2.3    Muwafak Rizek               7924 Keystone Road                                       Mercedes Benz                   D       2.8
                                      Orland Park, IL 60462-5166                               Financial Services               E/F
                                                                                                                               G



   2.4    Muwafak Rizek               7924 Keystone Road                                       Volkswagen Credit               D
                                      Orland Park, IL 60462-5166                                                                E/F        3.37
                                                                                                                               G



   2.5    Muwafak Rizek               7924 Keystone Road                                       Mercedes Benz                   D       2.9
                                      Orland Park, IL 60462-5166                               Financial Services               E/F
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 3
Debtor    IYS Ventures, LLC                                                       Case number (if known)   23-06782


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Muwafak Rizek            7924 Keystone Road                                  Mercedes Benz                  D      2.10
                                   Orland Park, IL 60462-5166                          Financial Services              E/F
                                                                                                                      G



  2.7     Muwafak Rizek            7924 Keystone Road                                  BMW Financial                  D      2.2
                                   Orland Park, IL 60462-5166                          Services                        E/F
                                                                                                                      G



  2.8     Muwafak Rizek            7924 Keystone Road                                  Byzfunder NY LLC               D      2.3
                                   Orland Park, IL 60462-5166                                                          E/F
                                                                                                                      G



  2.9     Muwafak Rizek            7924 Keystone Road                                  The Huntington                 D      2.13
                                   Orland Park, IL 60462-5166                          National Bank                   E/F
                                                                                                                      G



  2.10    Muwafak Rizek            7924 Keystone Road                                  BMW Financial                  D      2.1
                                   Orland Park, IL 60462-5166                          Services                        E/F
                                                                                                                      G



  2.11    Muwafak Rizek            7924 Keystone Road                                  Itria Ventures                 D      2.5
                                   Orland Park, IL 60462-5166                                                          E/F
                                                                                                                      G



  2.12    Muwafak Rizek            7924 Keystone Road                                  Samson Funding                 D      2.12
                                   Orland Park, IL 60462-5166                                                          E/F
                                                                                                                      G



  2.13    Muwafak Rizek            7924 Keystone Road                                  U.S. Small Business            D
                                   Orland Park, IL 60462-5166                          Administration                  E/F    3.35
                                                                                                                      G



Official Form 206H                                              Schedule H: Your Codebtors                                     Page 2 of 3
Debtor    IYS Ventures, LLC                                                       Case number (if known)   23-06782


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.14    Muwafak Rizek            7924 Keystone Road                                  U.S. Small Business            D
                                   Orland Park, IL 60462-5166                          Administration                  E/F   3.36
                                                                                                                      G



  2.15    Muwafak Rizek            7924 Keystone Road                                  EBY Brown Company              D
                                   Orland Park, IL 60462-5166                          LLC                             E/F   3.9
                                                                                                                      G




Official Form 206H                                              Schedule H: Your Codebtors                                    Page 3 of 3
